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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )           CASE NO. 8:02CR353
                                            )
                      Plaintiff,            )
                                            )                  JUDGMENT
      vs.                                   )
                                            )
BARRY RENFOLD COOLEY,                       )
                                            )
                      Defendant.            )

      In accordance with the accompanying Memorandum and Order,

      IT IS ORDERED:

      1.     The Defendant’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or

Correct Sentence by a Person in Federal Custody (“§ 2255 motion”) (Filing No. 606) is

denied as follows:

             a.       Claims One through Four are denied on the merits;

             b.       Claims Six and Seven are summarily denied; and

      2.     The Clerk is directed to mail a copy of this Judgment to the Defendant at his

last known address.

      DATED this 29th day of January, 2008.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge
